Case 2:14-cv-11916-GCS-SDD ECF No. 76-8, PagelD.2469 Filed 03/24/16 Page 1 of 3

EXHIBIT G
Case 2:14-cv-11916-GCS-SDD ECF No. 76-8, PagelD.2470 Filed 03/24/16 Page 2 of 3

Hood, Jill

From: Bork, Fiona

Sent: Wednesday, February 26, 2014 12:04 PM
To: Hocd, Jill

ce: Wiseheart, Martha

Subject: Natalie Suspension

Importance: High

Sensitivity: Confidential

Jill

At 3:21PM | walked into the Clinton Township PSC building to speak ta Natalie about her suspension. When |
approached the site Natalie was walking out on her personal cell phone speaking to an tnknown party while delivering a
report to a client. | waited in the hallway for her to return and when she did a patient came in as well. | walked out of
the site and waited for HFH-Macomb security to arrive and briefed them on the situation with Natalie,

Once security was in the hallway i walked back in to our site and Martha came of front where Natalie was sitting to
witness my conversation,

Fiona: i told Natalle that ! was there to suspend her

Natalie said: “Why”

Fiona: | said for abandoning your work site. | asked for the sign that she put on the door Natalle: “Oh 1 shredded it”
Fiona: | asked why?

Natalia: ugh | did

Fiona: You did not have permission to leave

Natalie: | sent you an email

Fiona: | said that is not the protecol You are to call me to seek your managers permission to leave a site. t said you have
my phone number and my phone is on all of the time and you did not call me

Natalie: Well I was upset | wanted a break and ! left | didn’t do anything wrong | sent you an emall and { told Martha
Fiona: Natalie you did not follow protocol so I need a statement farm you about why you thought it was appropriate to
abandon your site | need your badge, keys, phone and any other HFML property

Natalie: fam not signing anything for you, not malting a statement | am not doing anything for you! | am going straight
to HR!

Fiona: OK

Natalie: Am | going to get paid while } ain suspended

Fiona: No itis a suspension without pay pending an Investigation

Natalie then got very angry and said “I can’t believe after all of my work this is happening to me”, She started to take
personal pictures down and was throwing the push pins on the counter {1 called security in at that point}

When security walked in Natalie said “ | can’t believe you , you called security on me” | started to explain that this fs
protocal and the security officer took over and explained that they do this for all suspenstons.

Natalie kept going in drawers trying to take HFML property and Martha told her to stop and leave all of that behind and
to take her purse and exit the building and that we would return any person pro perty to her, Natalle kept trying to grab
folders and Martha told her again to put them down.

Natalie said “Well this folder has my time sheets in them”

Martha said “put the folder down we have not had time to examine what Is in the folder”

Natalle did not put the folders dewn until security stepped in and told her to put the folder down” Natalie threw the
folders back In the drawer.

Natalie then got up and satd “lam taking all of my food, | have the receipts to prove that it belongs to me” We gave her
two bags to put her food in under the supervision of security.

Natalie Ehen said to me “! am never coming back here” and “I will see you In HR”

Fiona: | said Natalie you are not to have any contact with any HEML employees during your suspension. She did not reply
or acknowledge my statement

* 1

HFH66
Case 2:14-cv-11916-GCS-SDD ECF No. 76-8, PagelD.2471 Filed 03/24/16 Page 3 of 3

Security then escorted her out of the building
Fiona Bork

Laboratory Sales Manager

Outreach Laboratory Services

Henry Ford Medical Laboratories

Call: 248.372,1300

Fax: 313.916,9143

HFH6 7
